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 1   DAVID A. TORRES AND ASSOCIATES
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 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     Felipe Angeles Valdez-Colima
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9                                                   )   Case No.: 18-CR-00158-DAD-BAM
     UNITED STATES OF AMERICA,                       )
10                                                   )   STIPULATION AND ORDER TO
                    Plaintiff,                       )   CONTINUE THE STATUS
11                                                   )   CONFERENCE
            vs.                                      )
12                                                   )
     Felipe Angeles Valdez-Colima,                   )
13                                                   )
                    Defendant                        )
14
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE STANLEY
15
     A. BOONE AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
16
            COMES NOW Defendant, Felipe Angeles Valdez-Colima by and through his attorney
17
     of record, David A. Torres hereby request that the status conference hearing currently set for
18
     Monday, December 10, 2018 be continued to Monday, January 14, 2019.
19
            I was appointed to represent Mr. Colima on or about November 13, 2018. I have
20
     completed my review of the discovery and have discussed a potential disposition with AUSA
21
     Karen Escobar. I am in receipt of a plea agreement and will review with my client this weekend.
22
     Hence, I respectfully request a continuance of the status conference for approximately 30 days.
23
             I have spoken to AUSA Karen Escobar, and she has no objection to continuing the status
24
     conference.
25




                                                     1
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 1          The parties also agree the delays resulting from the continuance shall be excluded in the

 2   interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

 3

 4           IT IS SO STIPULATED.

 5                                                               Respectfully Submitted,

 6   DATED: 12/6/18                                              /s/ David A Torres        ___
                                                                 DAVID A. TORRES
 7                                                               Attorney for Defendant
                                                                 Felipe Angeles Valdez-Colima
 8

 9

10   DATED: 12/6/18                                              /s/Karen Escobar __________
                                                                 KAREN ESCOBAR
11                                                               Assistant U.S. Attorney

12

13

14                                               ORDER

15          IT IS SO ORDERED that the Status Conference re New Appointed Counsel is continued

16   from December 10, 2018 to January 14, 2019 at 1:00 p.m. before Magistrate Judge Barbara A.

17   McAuliffe. Time is excluded pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).

18   IT IS SO ORDERED.
19
        Dated:    December 6, 2018                           /s/ Barbara A. McAuliffe              _
20                                                       UNITED STATES MAGISTRATE JUDGE
21

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